






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-05-00436-CR







Adam McGuire, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 403RD JUDICIAL DISTRICT


NO. D-1-DC-05-904028, HONORABLE BRENDA KENNEDY, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



Adam McGuire pleaded guilty and judicially confessed to murder, a lesser included
offense of the capital murder alleged in the indictment.  See Tex. Penal Code Ann. § 19.02
(West&nbsp;2003).  The court adjudged him guilty and, after hearing evidence, sentenced him to forty-five
years' imprisonment.

McGuire's court-appointed attorney filed a brief concluding that the appeal is
frivolous and without merit.  The brief, together with the supplemental letter brief submitted
by&nbsp;counsel at the Court's request, meets the requirements of Anders v. California, 386 U.S. 738
(1967), by presenting a professional evaluation of the record demonstrating why there are no
arguable grounds to be advanced.  See also Penson v. Ohio, 488 U.S. 75 (1988); High v. State,
573&nbsp;S.W.2d&nbsp;807 (Tex. Crim. App. 1978); Currie v. State, 516 S.W.2d 684 (Tex. Crim. App. 1974);
Jackson v. State, 485 S.W.2d 553 (Tex. Crim. App. 1972); Gainous v. State, 436 S.W.2d 137
(Tex.&nbsp;Crim. App. 1969).  McGuire also filed a pro se brief.

We have reviewed the record, counsel's brief and supplemental brief, and the pro se
brief.  We find nothing in the record that might arguably support the appeal.  See Bledsoe v. State,
178 S.W.3d 824, 826-27 (Tex. Crim. App. 2005).

The judgment of conviction is affirmed. (1)


				__________________________________________

				G. Alan Waldrop, Justice

Before Justices Puryear, Waldrop and Henson

Affirmed

Filed:   August 6, 2007

Do Not Publish

1.        All pending motions are overruled.

